Case 3:05-beO88I JAF DOC 13340-2 Filed 12/21/06 Page 1 of 2

IN THE UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION
IN RE: Chapter 11
WINN-DIXIE STORES, INC., et al., CASE NO. 05-03817-3F1
Debtors. . Jointly Administered

REQUEST OF JAMIE SCHEXNAYDER FOR ALLOWANCE AND
PAYMENT OF ADMINISTRATIVE EXPENSE CLAIM

PAYMENT OF ADMD ye

Jamie Schexnayder (“Schexnayder”), by and through her undersigned couns el, requests that
the Court enter an Order for the allowance and payment ofits administrative expense claim pursuant
to Bankruptcy Code §$§ 365(d)(3) and/or 503(b) and states as follows:

1. The Debtors filed voluntary petitions under Chapter 11 of the Bankruptcy Code on
February 21, 2005 and continued to manager their affairs as debtors-in-possession.

2. At the time the Debtors filed their Chapter 11 petition, Jamie Schexnayder slipped
and fell in one of the Winn-Dixie stores, located in Denham Springs, Louisiana.

3. On or about May 4, 2006, Jamie Schexnayder and counsel for Winn Dixie Stores, Inc. -
entered into a settlement agreement of $10,000.00 to settle all claims incurred by Jamie

Schexnayder’s fall.

4. On or about June 6, 2006 an Agreed Order of Resolution fo the Litigation Claim of

Jamie Schexnayder (Claim Nos. 264, 4269 and 427 0) was filed with this Honorable Court. This

ordered and adjudged that claim No. 4270 is allowed as an unsecured non-priority claim in the

amount of $10,000.00 against Winn Dixie Montgomery, inc. in Case No. 05-03837 to be paid.
— : 03817-JAF Doc 13340-2 Filed 12/21/06 Page 2 of 2

5. Accordingly, Jamie Schexnayder, through undersigned counsel seeks allowance and
payment of an unsecured non-priority claim in the amount of $10,000.00.
Dated: December 20, 2006

DeVONNA PONTHIEU, Attorney at Law, LLC

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